     Case 2:20-cr-00348-SVW Document 72 Filed 07/25/22 Page 1 of 7 Page ID #:337



 1   STEPHANIE S. CHRISTENSEN
     Acting United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     JAMES A. SANTIAGO (Cal. Bar No. 300459)
 4   Assistant United States Attorney
     General Crimes Section
 5        1200 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-2229
 7        Facsimile: (213) 894-0141
          E-mail:    james.santiago@usdoj.gov
 8

 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13
     UNITED STATES OF AMERICA,              No. CR 2:20-00348-SVW
14
               Plaintiff,                   GOVERNMENT’S SENTENCING POSITION
15                                          REGARDING DEFENDANT KRISTOPHER
                     v.                     ADAM GONZALEZ
16
     KRISTOPHER ADAM GONZALEZ,
17                                          Hearing Date: Aug. 8, 2022
               Defendant.                   Hearing Time: 11:00 A.M.
18
19

20        Plaintiff United States of America, by and through its counsel
21   of record, the Acting United States Attorney for the Central
22   District of California and Assistant United States Attorney James A.
23   Santiago, hereby files its Sentencing Position Regarding Defendant
24   Kristopher Adam Gonzalez (“defendant”).
25        This position is based upon the attached memorandum of points
26   and authorities, the files and records in this case, the Presentence
27   Report (Dkt. 67, “PSR”) prepared by the United States Probation and
28   Pretrial Services Office (“USPO”), the USPO’s Recommendation Letter
                                           1
     Case 2:20-cr-00348-SVW Document 72 Filed 07/25/22 Page 2 of 7 Page ID #:338



 1   (Dkt. 66, “Rec. Letter”), and such further evidence and argument as

 2   the Court may wish to consider at the time of sentencing.

 3

 4   Dated: July 25, 2022               Respectfully submitted,

 5                                      STEPHANIE S. CHRISTENSEN
                                        Acting United States Attorney
 6
                                        SCOTT M. GARRINGER
 7                                      Assistant United States Attorney
                                        Chief, Criminal Division
 8

 9                                            /s/ James A. Santiago
                                        JAMES A. SANTIAGO
10                                      Assistant United States Attorney

11                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                           2
     Case 2:20-cr-00348-SVW Document 72 Filed 07/25/22 Page 3 of 7 Page ID #:339



 1                     MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     INTRODUCTION

 3          Defendant is an identity thief whose charges stem from his

 4   illegal possession and/or use of unauthorized access devices and

 5   stolen mail belonging to various victims.        He pled guilty pursuant

 6   to a written plea agreement to use of an unauthorized access device,

 7   possession of fifteen or more unauthorized access devices,

 8   possession of device-making equipment, and possession of stolen

 9   mail.    (Dkts. 55 (“Plea Agr.”), 58 (“Amendment to Plea Agr.”), 64

10   (Change of Plea Hearing).)

11          The government agrees with the PSR that defendant is in

12   criminal history category IV, his total offense level is 13, and the

13   Guidelines range is 24 to 30 months’ imprisonment.          For the reasons

14   set forth below, the government recommends the Court impose a high-

15   end sentence of 30 months’ imprisonment, followed by three years of

16   supervised release, and a $400 special assessment.

17   II.    FACTUAL AND PROCEDURAL BACKGROUND

18          The government agrees that the PSR contains an accurate summary

19   of defendant’s conduct in this case.       (Plea Agr. ¶ 17; PSR ¶¶ 18-

20   26.)    On September 9, 2019, defendant used an account number in the

21   name of victim M.E.J. to fraudulently purchase a Samsung telephone,

22   a 2-year warranty package, and a telephone sim card for a total

23   price of $1,253.36 from a Curacao department store in South Gate,

24   California.    (Plea Agr. ¶ 17; PSR ¶¶ 20-22, 25-26.)        Then on

25   September 25, 2019, defendant possessed in his backpack 72 social

26   security numbers, 8 credit card numbers, device-making equipment, 35

27   pieces of stolen mail, 43 checks made out to others totaling

28

                                           1
     Case 2:20-cr-00348-SVW Document 72 Filed 07/25/22 Page 4 of 7 Page ID #:340



 1   $76,925.69, and a receipt for his fraudulent September 9, 2019

 2   telephone purchase.     (Plea Agr. ¶ 17; PSR ¶ 26.)

 3   III. SENTENCING GUIDELINES

 4          The government agrees with the Guidelines calculations in the

 5   PSR.    The base offense level is 6 under U.S.S.G. § 2B1.1(a)(2).

 6   (Plea Agr. ¶ 19; PSR ¶ 38.)      There is a 6-level increase for an

 7   intended loss amount of $76,925.69 under U.S.S.G. § 2B1.1(b)(1)(D),

 8   a 2-level increase for more than 10 victims under U.S.S.G.

 9   § 2B1.1(b)(2)(A), and a 2-level increase for possession of device-

10   making equipment under U.S.S.G. § 2B1.1(b)(11).         (Plea Agr. ¶ 19;

11   Amendment to Plea Agr. ¶ 2; PSR ¶¶ 50-51.)        Defendant should receive

12   a 3-level reduction for acceptance of responsibility.          (Plea Agr.

13   ¶ 3(d); PSR ¶ 28.)    Accordingly, the total offense level is 13.             The

14   criminal history category is IV.       (PSR ¶¶ 57-62.)     The resulting

15   Guideline range is 24 to 30 months’ imprisonment.          (PSR ¶ 115.)       In

16   its recommendation letter, the USPO recommends a low-end sentence of

17   24 months’ imprisonment.

18   IV.    A HIGH-END SENTENCE OF 30 MONTHS IS JUSTIFIED AND APPROPRIATE
            UNDER THE CIRCUMSTANCES
19
            The government recommends that the Court impose a high-end
20
     sentence of 30 months’ imprisonment, followed by three years of
21
     supervised release.     Defendant should also be ordered to pay
22
     restitution in the amount of $1,253.36.        Given defendant’s history
23
     of identity theft, the need for substantial deterrence to have any
24
     effect on his behavior, and the significant economic danger that
25
     defendant poses to the community, the Court should impose no less
26
     than a high-end Guidelines sentence of 30 months’ imprisonment.
27

28

                                           2
     Case 2:20-cr-00348-SVW Document 72 Filed 07/25/22 Page 5 of 7 Page ID #:341



 1        The government’s recommended sentence reflects the seriousness

 2   of defendant’s criminal conduct which included dozens of victims.

 3   Defendant had multiple unauthorized access devices, actually used an

 4   unauthorized access device, possessed device-making equipment, and

 5   possessed stolen mail.     Defendant has also been charged in a second

 6   federal case with possession of stolen mail.         As noted below,

 7   defendant also has a 2020 state conviction for possessing a false

 8   identification for possessing various stolen credit cards and

 9   identification documents.      (PSR ¶ 60.)    Thus, defendant’s repeated

10   criminal conduct and his proclivity for identity theft and fraud

11   leaves little doubt that he is likely to resort back to committing

12   fraud upon his release from custody if not sufficiently deterred by

13   a significant prison sentence.

14        The government’s recommendation also takes into account

15   defendant’s criminal history.      Although this will be defendant’s

16   first felony conviction, defendant has multiple prior misdemeanor

17   convictions that place him in criminal history category IV.           (PSR

18   ¶¶ 57-61.)   He has domestic battery convictions in 2014 and 2020, as

19   well as a 2020 conviction for possession of credit cards and

20   identification documents belonging to other people -- a conviction

21   for a June 2019 arrest, approximately three months before the

22   offense conduct here.     (PSR ¶¶ 59-61.)     His longest previous

23   sentence was 120 days in custody in 2015.        (PSR ¶ 58.)    Thus, the

24   recommended sentence of 30 months’ imprisonment will be the most

25   severe sanction that defendant has received to-date.

26        In mitigation, defendant appears to have had a difficult

27   upbringing and a lengthy history of substance abuse.          (PSR ¶¶ 73-86,

28   93-100.)   Defendant also promptly took responsibility for his

                                           3
     Case 2:20-cr-00348-SVW Document 72 Filed 07/25/22 Page 6 of 7 Page ID #:342



 1   conduct and pled guilty.     But the Guidelines properly account for

 2   defendant’s criminal history and his acceptance of responsibility.

 3   Accordingly, a sentence at the high-end of the Guidelines range

 4   adequately accounts for these factors.

 5        Finally, a sentence at the high-end of the Guidelines range

 6   will also avoid unwarranted sentence disparities.          See United States

 7   v. Treadwell, 593 F.3d 990, 1011 (9th Cir. 2010), overruled on other

 8   grounds by United States v. Miller, 953 F.3d 1095 (9th Cir.

 9   2020)(“Because the Guidelines range was correctly calculated, the

10   district court was entitled to rely on the Guidelines range in

11   determining that there was no ‘unwarranted disparity[.]’”).

12        The government also recommends the Court impose a three-year

13   term of supervised release, in light of the factors identified at 18

14   U.S.C. § 3583(c).    (See PSR ¶¶ 117-120.)      A three-year supervised

15   release term will provide the needed additional incentive for

16   defendant to refrain from committing future crimes and will protect

17   the public from further crimes by defendant.         (See 18 U.S.C.

18   § 3583(c); 18 U.S.C. § 3553(a)(2)(B),(C).)
19   V.   CONCLUSION

20        For the reasons set forth above, the government recommends that

21   the Court sentence defendant to 30 months’ imprisonment, followed by

22   //

23   //

24   //

25   //

26   //

27   //

28

                                           4
     Case 2:20-cr-00348-SVW Document 72 Filed 07/25/22 Page 7 of 7 Page ID #:343



 1   three years of supervised release, restitution in the amount of

 2   $1,253.36, and a $400 special assessment.

 3   Dated: July 25, 2022               Respectfully submitted,

 4                                      STEPHANIE S. CHRISTENSEN
                                        Acting United States Attorney
 5
                                        SCOTT M. GARRINGER
 6                                      Assistant United States Attorney
                                        Chief, Criminal Division
 7

 8                                            /s/ James A. Santiago
                                        JAMES A. SANTIAGO
 9                                      Assistant United States Attorney

10                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                           5
